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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.

                             Plaintiffs,

                      v.
                                                     Civil Action No. l:17-cv-11008-MLW
CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and
HOSPIRA, INC.

                             Defendants.

                 DEFENDANTS’ MOTION IN LIMINE NO. 9: TO
           PRECLUDE EVIDENCE AND ARGUMENT FROM JANSSEN’S
         EXPERTS BASED ON SPECULATION OUTSIDE THEIR EXPERTISE

       Pursuant to Federal Rules of Evidence 401-403, Sport Dimension, Inc. v. Coleman Co., ,

820 F.3d 1316, 1323 (Fed. Cir. 2016), and United States v. Organon USA Inc., No. 07-12153-

RWZ, 2015 WL 10002943, *2-5 (D. Mass. Aug. 17, 2015), Defendants Celltrion Healthcare Co.,

Ltd., Celltrion, Inc., and Hospira, Inc. (collectively, “Defendants”) respectfully move the Court

to exclude non-infringing alternative opinions from Jansen’s experts related to alleged delays

attributable to: (a) lawyers, including claim analysis and prior art searching, and (b) contract

negotiations. Any such opinions are well outside the purported scientific expertise of Janssen’s

expert witnesses. The Court should also exclude opinions as to any specific delay, as such

opinions would be contaminated by speculation as to lawyers and contract negotiations.

       WHEREFORE, Defendants respectfully request this Court grant Defendants’ motion in

limine and exclude said evidence and argument.

                               REQUEST FOR ORAL ARGUMENT

       Defendants believe oral argument may assist the Court and therefore request oral

argument on the motion during the scheduled June 11, 2018 hearing. Dkt. 176.
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Dated: May 18, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/ Andrea L. Martin, Esq. ______________
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                                 LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with

Plaintiff’s counsel and attempted in good faith to resolve or narrow the issue raised in this

motion. No agreement has been reached. Plaintiff has asserted that it will oppose this motion.

                                                 /s/ Andrea L. Martin, Esq.
                                                 Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 18,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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